            Case 6:11-cv-06174-SI     Document 124       Filed 10/18/13     Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON




DANIEL HARRIGAN, by and through his                 Case No. 6:11-cv-06174-SI
guardians CAROLE HARRIGAN and
RANDY HARRIGAN,

                Plaintiff,
                                                    JUDGMENT
       v.

MARION COUNTY, et al.,

                Defendants.


Michael H. Simon, District Judge.

       This action was tried by a jury with Judge Michael H. Simon presiding, and the jury has

rendered a verdict.

       It is ordered that Plaintiff, Daniel Harrigan, by and through his guardians Carole Harrigan

and Randy Harrigan, recover nothing, the action be dismissed on the merits, and Defendants

Marion County, Jason Bernards, Stacy Rejaian (formerly Stacy Lucca), Jeffrey Stutrud, and T.

Shane Burnham recover their costs from Plaintiff, Daniel Harrigan.

       IT IS SO ORDERED.

       DATED this 18thdayof0ctober,2013.                    ~



                                                ~   Michael H. Simon
                                                    United States District Judge


PAGE 1 -JUDGMENT
